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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

COMMON GROUND HEALTHCARE
COOPERATIVE,
                                                        No. 1:17-cv-00877-KCD
               Plaintiff,
               on behalf of itself and all others       (Judge Davis)
               similarly situated,

       vs.

THE UNITED STATES OF AMERICA,

               Defendant.


                                    JOINT STATUS REPORT
       Pursuant to this Court’s January 23, 2023 Order, the parties submit this joint status report.
On June 21, 2021, the United States Supreme Court denied Plaintiff Common Ground Healthcare
Cooperative’s petition for a writ of certiorari (No. 20-1200) seeking review of the Federal Circuit’s
September 30, 2020 decision entering judgment consistent with the Federal Circuit’s decision in
Community Health Choice, Inc. v. United States, Nos. 2019-1633, -2102, 2020 WL 4723757 (Fed.
Cir. Aug. 14, 2020). The Supreme Court also denied the Government’s conditional cross-petition
for certiorari regarding the same (No. 20-1536). See Orders List (U.S. June 21, 2021).
Additionally, on that same day, the Court denied the petition for writ of certiorari and the
Government’s conditional cross-petition in Maine Community Health Options v. United States
(No. 20-1162), which also sought review of the Federal Circuit’s August 14, 2020 decision. See
Orders List (U.S. June 21, 2021).
       On January 23, 2023, the Court held a status conference in this and other CSR cases before
it. There the parties described their settlement efforts in some detail. The Court encouraged the
parties to redouble their efforts and indicated that it was not inclined to extend a stay beyond July
2023. By order entered that same day, the parties are to file their next joint status report by March
10, 2023.


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       The parties’ resolution efforts are continuing at this time, and the parties respectfully
request that the stay of this matter continue for an additional 60 days, at which time a joint status
report will be filed. At present, Class counsel, as well as attorneys representing other plaintiff
health plans, are engaged with counsel for the Government in talks regarding potential avenues for
resolving the CSR matters. Specifically, the parties are working to develop proposals and
methodologies that could resolve the damages and mitigation issues in the CSR cases without
further litigation or streamline resolution of these cases. On December 3, 2021, counsel for a large
number of plaintiff health plans shared a proposal with the Government. On April 28, 2022, the
Government responded to Plaintiffs’ proposal, and Plaintiffs responded on May 23, 2022. The
parties participated in a settlement-related call on September 1, 2022. Plaintiffs sent follow up
correspondence on September 15, 2022. The Government responded on November 10, 2022
regarding the proposed settlement methodology. On January 10, 2023, the CSR Plaintiffs
responded to the Government’s letter. The parties participated in conference calls on Thursday,
January 19, 2023, and Friday, February 24, 2023 to discuss the latest settlement proposal.
Discussion among the parties and stakeholders has been productive and continued, including, e.g.,
Plaintiffs requesting further data from the Government.        Plaintiffs anticipate sending further
correspondence to the Government shortly. Further, both Government counsel and Class counsel
will need to consult with numerous stakeholders before moving forward with any proposal. The
parties are also working together to present the Court with a joint stipulation for entry of partial
final judgment as to CSR damages the Government owes Plaintiff for 2017 in this case.
        Good cause exists for the Court to continue the stay of this case. The parties are aware that
this negotiation process has been a long one. But they maintain that the number of stakeholders,
and the complexity of a global resolution, necessitates the careful back -and-forth that has thus far
made progress on a potential resolution. For this reason, the parties respectfully request that the
stay continue—if a resolution is possible, it will conserve judicial resources not only in this
proceeding but in the approximately 25 proceedings currently before the Court. To this end, the
parties propose that they file a status report by May 12, 2023, in which the parties will update the


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Court on these efforts.

 DATED: March 10, 2023                       Respectfully submitted,

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